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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                         CIVIL MINUTES - GENERAL
 Case No.          5:20-mc-24-JGB (SPx)                                          Date   May 18, 2021
 Title             Interior Electric Incorporated Nevada v. Melinda Beverly, et al.




 Present: The                     Sheri Pym, United States Magistrate Judge
 Honorable
                Kimberly Carter                                None                             None
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiff:                     Attorneys Present for Defendant:
                         None Present                                         None Present
 Proceedings:                 (In Chambers) Order Granting in Large Part Movant’s Request for
                              Attorneys’ Fees Relating to Motion to Compel

                                             I. INTRODUCTION

       On January 20, 2021, movant Interior Electric Incorporated Nevada, by and
through its attorney of record Chad F. Clement, filed a declaration in support of its
request for attorneys’ fees (“Clement Decl. 1”) pursuant to the court’s December 7, 2020
order granting movant’s motion to compel compliance with its Rule 45 subpoenas.
Docket no. 12. Respondents Schiff & Shelton and Melinda Beverly, by and through
Beverly’s counsel Ralph C. Shelton II, filed a declaration in response to movant’s request
for attorneys’ fees (“Shelton Decl.”) on February 8, 2021. In reply to Shelton’s
declaration, movant’s counsel Clement filed another declaration (“Clement Decl. 2”) on
February 9, 2021. Pursuant to the court’s February 24, 2021 order, movant’s counsel
Clement filed a declaration clarifying its attorneys’ hourly rates (“Clement Decl. 3”) on
February 26, 2021.

       After carefully considering the parties’ declarations and arguments, the court
grants in large part movant’s request for attorneys’ fees as described below.

                                             II. BACKGROUND

      As recounted in greater detail in the court’s December 7, 2020 order, on January
23, 2020, movant served subpoenas on respondents Melinda Beverly and Schiff &
Shelton, commanding each of them to produce various categories of documents,
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essentially consisting of communications (and attachments thereto) with Matthew Ryba
or any person affiliated with T.W.C. Construction, Inc. regarding Mark Beverly, Interior
Electric, or any other person affiliated with Interior Electric. In a June 18, 2020
discussion, Ralph Shelton acknowledged that Beverly had failed to produce everything
responsive in her possession, admitted to possessing responsive documents himself, and
committed to working with Beverly to produce the remaining documents in the weeks to
follow. At various times in July and August 2020, Shelton represented that documents
were gathered and under review for production. Shelton thereafter ceased responding to
movant’s efforts to confer, and additional documents were not produced prior to
movant’s October 6, 2020 filing of the motion to compel. As such, in its December 7
order, the court found respondents had failed to produce documents they acknowledged
having, ordered respondents to produce all documents in their possession, custody, or
control that are responsive to the subpoenas within 14 days, and granted movant’s request
to file a declaration to support its request for attorneys’ fees in connection with this
matter.

       On January 20, 2021, movant filed a declaration in support of its request for
attorneys’ fees indicating that respondents have continued their refusal to produce any of
the attachments to the emails between Nevada defendant Matthew Ryba and Beverly’s
prior counsel Carrie Fogelsong, which emails Shelton had previously provided to
movant’s counsel Jared M. Moser on October 8, 2020. Clement Decl. 1 ¶¶ 5-8. Those
attachments are represented in those emails to include, without limitation, W-2s and
Schedule K-1s for movant’s former key employees, who are defendants in the Nevada
action, as well as various subcontracts and change orders from Ryba. Id. ¶ 8. Instead of
providing the attachments at issue, respondents produced Beverly’s divorce and
equalization proceedings and an email with a text message attachment that was already in
movant’s possession, which the subpoenas at issue did not request. Id. ¶¶ 5, 7, 9.

      Respondents filed a declaration in response to movant’s request for attorneys’ fees
on February 8, 2021. Shelton indicated that shortly after receiving the subpoenas on
January 23, 2020, Laura Schiff informed movant that they did not have any information
about Matthew Ryba to respond to the subpoena, and they were no longer representing
Melinda Beverly at that time. Shelton Decl. ¶ 4, Ex. A. Although Schiff & Shelton
represented Beverly in her state court dissolution of marriage with respect to a post-
judgment motion from March 2017 to August 2017, they did not commence an attorney-
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client relationship with respect to the subpoenas at issue until June 5, 2020. See id. ¶¶ 3-
6. On June 12, 2020, movant’s counsel sent Shelton an email in which he set forth
reasons for his suspicion that additional responsive documents existed based on
documents he received from Melinda Beverly, which included screenshots of text
messages between her and Ryba. See id. ¶ 8, Ex. D. Although Shelton indicates that the
June 12, 2020 email from Collin M. Jayne also included the subject email exchange
between Ryba and Fogelsong, the record indicates that the email only included the
subpoenas that were sent to Beverly, a five-text conversation between Beverly and Ryba
dated August 2019, Laurie Schiff’s email stating that she did not know Ryba, and
information supporting movant’s belief that additional documents existed. See id.

       On October 8, 2020, two days after movant filed the motion to compel, Shelton
provided movant’s counsel Moser with the subject email exchange between Ryba and
Beverly’s prior counsel, which comprised of all of the responsive communications
Shelton was aware of. Id., Ex. C. Although there were attachments to those emails, those
attachments were not transmitted to Beverly. Id. ¶¶ 10, 12. Shelton also explained that
his firm Schiff & Shelton does not have the attachments at issue because they were not
included in the emails between Ryba and Fogelsong, and were not representing Beverly
at the time of those emails. Id. ¶ 12.

       Shelton provided Schiff & Shelton’s Custodian of Records Affidavit on November
24, 2020, and Beverly’s Custodian of Records Affidavit on November 30, 2020, which
affirmed that all responsive documents in their possession, custody, and control had been
produced. Id. ¶ 8; Clement Decl. ¶ 7. Out of an abundance of caution, Shelton also
produced all documents of which Schiff & Shelton had possession, including Beverly’s
divorce and equalization court filings, because T.W.C. Construction was apparently
owned by Mark Beverly, and may have been the subject of distribution or equalization,
and thus such documents may have been responsive to the subpoena. See Shelton Decl.
¶¶ 9, 11.

       Shelton has suggested that movant obtain the attachments at issue from Beverly’s
prior counsel Fogelsong and Ryba instead of respondents. Id. ¶ 12. In response, movant
acknowledged that it served discovery requests on Ryba in the underlying Nevada action,
but has not received any documents from him. Clement Decl. 2 ¶ 14. As such, movant
had to shift focus to third-party subpoenas, including those served on respondents. Id.
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Movant was not aware of Fogelsong until respondents produced the emails after the filing
of the motion to compel. Id. After learning about Beverly’s prior counsel, movant
subpoenaed Fogelsong’s current firm, which responded that it had no responsive
documents. Id. ¶ 15. Movant then subpoenaed Sullivan Law, the firm that was identified
in the subject email exchange, but it has not completed its production and has refused to
authenticate its production by way of a notarized Custodian of Records Affidavit. Id.

                                           III. DISCUSSION

      Movant seeks a total of $22,290.00 for attorneys’ fees and costs, based on 78.1
hours of work by movant’s counsel between January 23, 2020 and December 23, 2020,
incurred in attempting to obtain respondents’ compliance with its subpoenas, and
preparing for and filing the motion to compel and other related filings. See Clement
Decl. 1 ¶ 13.

       Under Fed. R. Civ. P. 37(b)(2)(C), if a party fails to obey an order or permit
discovery, “the court must order the disobedient party, the attorney advising the party, or
both to pay the reasonable expenses, including attorney’s fees, caused by the failure,
unless the failure was substantially justified or other circumstances make an award of
expenses unjust.” Here, movant argues that it is entitled to the attorneys’ fees and costs
incurred in attempting to obtain compliance with its subpoenas and filing the motion to
compel, because respondents have continued their refusal to produce any of the
attachments to the emails between Nevada defendant Matthew Ryba and Beverly’s prior
counsel, which emails Shelton had previously provided to movant’s counsel Moser on
October 8, 2020. Clement Decl. 1 ¶¶ 5-8. Movant argues the attachments at issue are in
Beverly’s possession, custody, and control, because she can simply ask her prior counsel
for the documents and forward them to movant. Clement Decl. 2 ¶¶ 5-6. Movant further
asserts that but for its reliance on Shelton’s representation that responsive documents did
exist on several occasions since their June 18, 2020 meet and confer call, it would not
have committed the time to pursing those documents from respondents. Id. ¶ 10.

      Respondents argue movant’s request for attorneys’ fees is not warranted, because
they have produced all documents in their possession, custody, and control that may be
responsive to the subpoena at issue, including the email chain consisting of
communications between Ryba and Fogelsong. Shelton Decl. ¶¶ 2, 7-8. Respondents
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also maintain that although there appear to be attachments to the emails between Ryba
and Fogelsong that have not been produced, those attachments were not transmitted to
Melinda Beverly or Schiff & Shelton, and are beyond their possession, custody, and
control. Id. ¶¶ 2, 10-12. Respondents further assert that movant’s request for attorneys’
fees is unreasonable, because movant was aware, well in advance of any dispute, that the
emails and attachments at issue were between Ryba and Fogelsong, and that those emails
occurred after Schiff & Shelton was no longer representing Beverly. Id. ¶ 14.

        The court finds an award of the fees and expenses incurred by movant in bringing
the motion to compel is warranted because respondents’ failure for months to produce
promised documents prior to movant filing the motion to compel was not substantially
justified. The real question here is how broadly the work done in connection with the
motion should be construed. Under the circumstances here, the court construes that work
quite broadly given that respondents’ inexcusable failure to produce documents as
promised, respond to inquiries, and make a reasonable effort to obtain all responsive
documents went on for months both before and after the filing of the motion to compel.

       Respondents maintain they completed their production shortly after the filing of
the motion to compel, and take issue with movant’s argument that they were required to
provide attachments to emails not in respondents’ physical possession. Respondents
claim movant was aware of Beverly’s prior counsel prior to any dispute; however,
movant’s counsel clarified that he did not learn about Fogelsong until respondents
produced the subject email exchange, which occurred on October 8, 2020, after movant
filed the motion to compel. See Clement Decl. 2 ¶¶ 7, 14. But regardless of whether
movant knew that the subject email exchange was between Ryba and Fogelsong prior to
any dispute, it was not unreasonable for movant to subpoena these documents from
respondents, since Beverly is still required to attempt to obtain them from her prior
counsel to the extent that they were acquired or created during the course of Fogelsong’s
attorney-client relationship with her. The fact that the attachments at issue are not within
Beverly’s physical possession does not excuse her from her obligation to produce them.
See United States v. Int’l Union of Petroleum & Indus., Workers, AFL-CIO, 870 F.2d
1450, 1452 (9th Cir. 1989) (“Control is defined as the legal right to obtain documents
upon demand.”); A. Farber & Partners, Inc. v. Garber, 234 F.R.D. 186, 189 (C.D. Cal.
2006) (“[F]ederal courts have consistently held that documents are deemed to be within
[a party’s] ‘possession, custody, or control’ for purposes of Rule 34 if the party has actual
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possession, custody, or control, or has the legal right to obtain the documents on
demand.”) (citing In re Bankers Trust Co., 61 F.3d 465, 469 (6th Cir. 1995)).

       In addition, movant’s efforts to obtain documents responsive to the subpoenas
from respondents were justified based on Shelton’s acknowledgment that he represented
Beverly in June 2020, and his repeated representations that additional responsive
documents did exist and had not been produced. See Shelton Decl. ¶¶ 6-8, Ex. D at 1-2;
Clement Decl. 2 ¶¶ 9-10; docket no. 1, Clement Decl. ¶¶ 10-12, Collin M. Jayne Decl.
¶¶ 10-19. Despite Shelton’s repeated representations between June and August 2020 that
responsive documents did exist and would be produced, they did not produce the subject
email exchange until October 8, 2020, after movant had already filed the motion to
compel. See Clement Decl. 2 ¶¶ 7-10; Shelton Decl. ¶ 8. Further, respondents have
failed to comply with the court’s December 7, 2020 order requiring them to produce all
responsive documents in their possession, custody, and control, since it appears Beverly
has not even attempted to obtain the attachments at issue from her prior counsel. See
Clement Decl. 2 ¶¶ 5, 10. Given respondents’ repeated failures to timely produce
responsive documents, the court finds the scope of movant’s request for attorneys’ fees is
well warranted to compensate movant for the time and effort spent in attempting to obtain
respondents’ compliance with the subpoenas, which should not have required a motion to
compel.

      As noted above, movant seeks a total of $22,290.00 for attorneys’ fees and costs,
based on 78.1 hours of work by movant’s attorneys between January 23, 2020 and
December 23, 2020. Clement Decl. 1 ¶ 13. Movant’s attorneys’ fees can be broken
down as follows: $7,247.50 for 22.3 hours by Chad F. Clement; $2,340.00 for 7.2 hours
by Cody S. Mounteer; $9,130.00 for 33.2 hours by Jared M. Moser; $2,925.00 for 11.7
hours by Collin M. Jayne; and $647.50 for 3.7 hours by counsel’s paralegal. Id. ¶¶ 14-
15. The standard hourly rate of Chad F. Clement and Cody S. Mounteer is $325; the
standard hourly rate of Jared M. Moser is $275; and the standard hourly rate of Collin M.
Jayne is $250. Clement Decl. 3 ¶ 4.

       The amount of a reasonable fee is generally determined according to the lodestar
method, that is, “the number of hours reasonably expended on the litigation multiplied by
a reasonable hourly rate.” Hensley v. Eckerhart, 461 U.S. 424, 433, 103 S. Ct. 1933, 76
L. Ed. 2d 40 (1983). A reasonable rate is generally demonstrated based on the
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submission of evidence that the requested rates are reflective of the prevailing rate in the
community based on comparable skill, experience, and reputation. Blum v. Stenson, 465
U.S. 886, 895 n.11, 104 S. Ct. 1541, 79 L. Ed. 2d 891 (1984). The party seeking the
award of fees must submit evidence to support the number of hours worked and the rates
claimed. Van Gerwen v. Guarantee Mut. Life Co., 214 F.3d 1041, 1045 (9th Cir. 2000).
But “[a] district court should exclude from the lodestar amount hours that are not
reasonably expended because they are excessive, redundant, or otherwise unnecessary.”
Id. (citation and internal quotation marks omitted).

      The court finds movant’s attorneys’ hourly rates of $325 for Clement and
Mounteer, $275 for Moser, and $250 for Jayne are reasonable and consistent with the
prevailing rate in Las Vegas, Nevada. Clement Decl. 1 ¶ 22. Nonetheless, movant’s
counsel explained that they reduced their rate for this case, with all attorneys billing at
$250 per hour. Clement Decl. 3 ¶ 5. Given this reduction, the court will also assess time
worked by counsel in this case at that rate for purposes of determining the award of
reasonable expenses in connection with the motion to compel. Thus, with 74.4 attorney
hours at a rate of $250 per hour, plus $647.50 in paralegal hours, the expenses at issue
here are reduced to $19,247.50.

        The court further finds the number of hours requested are somewhat excessive.
First, the court will subtract the hours requested prior to June 2020, given that Melinda
Beverly had produced some responsive documents in response to the subpoena by the
February 5, 2020 deadline, and she did not have counsel to assist her with compiling
additional responsive documents until Schiff & Shelton began representing her regarding
the subpoenas at issue in June 2020. Shelton Decl. ¶¶ 5-6, Ex. B at 3-4. Further, Laurie
Schiff emailed movant’s counsel Chad Clement on January 23, 2020 informing him that
she did not have any information regarding the subpoenas at issue and did not represent
Beverly at that time. Id. ¶ 5, Ex. A. The court will thus subtract the 4 hours of time spent
by counsel between January 23 and May 13, 2020. See Clement Decl., Ex. 1 at 3-7.
Second, the court will reduce the time spent by counsel between June 5 and the motion to
compel’s filing on October 6, 2020 by 6 hours, given that certain of the work done
appears insufficiently tied to the motion to compel and some of the time spent appears
excessive. See id. at 8-25. Third, the court will reduce the time spent by counsel between
October 6 and December 23, 2020 by an additional 5 hours for excessive time spent on
certain tasks. See id. at 25-36. The court finds that the remaining 59.4 hours movant’s
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counsel spent engaging in meet and confer efforts with respondents to obtain their
compliance with the subpoenas, conducting legal research, and preparing the motion to
compel and other related pleadings and filings are reasonable. At a rate of $250, this
amounts to attorneys’ fees of $14,850.

      Accordingly, with $14,850.00 for attorney time and $647.50 for paralegal time
reasonably spent, the court orders respondents to pay $15,497.50 to movant.

                                               IV. ORDER

       IT IS THEREFORE ORDERED that movant’s request for fees and expenses
relating to its motion to compel is granted in large part as set forth above. Respondents
shall pay movant the total amount of $15,497.50. The court cautions respondents that
further failure to comply with the court’s orders may result in additional sanctions.




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